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UN|TED STATES OF AIV|ER|CA
P|aintiff

VS.
CFt. NO. 05-20142-B

CALVIN MC NAF{Y,

Defendant.

 

ORDER ON CONT|NUANCE AND SPECIFY|NG PEFl|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to October 3, 2005 With a
gport date of Mondav. September 26. 2005, at 9:30 a.m., in Courtroom 1. 11th F|oor
of the Federa| Buiiding, iViemphis, TN.

The period from August 12, 2005 through October 14, 2005 is excludable under
18 U.S.C. § 3161(h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a spe dy tria|.

|T iS SO ORDERED this IAL da_ 0

 
  

 

J. NlEi_ BREEN \
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UNITED sTATE D"ISIC COURT - WESTERN D'S'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 57 in
ease 2:05-CR-20142 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

